Case 1:24-cr-10057-DJC Document 1 Filed 03/06/24 Page 1 of 6




                                                 24cr10057
Case 1:24-cr-10057-DJC Document 1 Filed 03/06/24 Page 2 of 6
Case 1:24-cr-10057-DJC Document 1 Filed 03/06/24 Page 3 of 6
Case 1:24-cr-10057-DJC Document 1 Filed 03/06/24 Page 4 of 6
Case 1:24-cr-10057-DJC Document 1 Filed 03/06/24 Page 5 of 6
Case 1:24-cr-10057-DJC Document 1 Filed 03/06/24 Page 6 of 6




                                   /s/ Noreen A. Russo

                                                         at 11:08 am
